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     Attorney at Law
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     (916) 444-7420; FAX: (916) 441-6714
 4
     Attorney for: MICHAEL LEON W ILLIAMS
 5

 6                       IN THE UNITED STATES DISTRICT COURT

 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                      )     No. CR-S-09-196 GEB
                                                    )
10                       Plaintiff,                 )
                                                    )     STIPULATION AND ORDER
11         vs.                                      )     CONTINUING TRIAL
                                                    )     CONFIRMATION HEARING
12   MICHAEL LEON W ILLIAMS, et. al.                )
                                                    )
13                       Defendant.                 )
                                                    )
14

15         Defendant: MICHAEL LEON W ILLIAMS, through his attorney, PETER

16   KMETO, and the United States of America, through its counsel of record, MICHAEL

17   BECKW ITH, stipulate and agree to the following:

18         1. The presently scheduled date of January 18, 2013 for Trial Confirmation

19         Hearing shall be vacated as to defendant, MICHAEL LEON W ILLIAMS, and

20         said Hearing be rescheduled for January 25, 2013 at 9:00 a.m..

21         2. Settlement negotiations are currently being conducted and will have

22         concluded by January 25, 2013. There has been a prior exclusion

23         of time until March 5, 2013 when the matter is set for jury trial.
24
           IT IS SO STIPULATED.
25
     Dated:      January 15, 2013            /s/ MICHAEL BECKW ITH
26
                                            Assistant U.S. Attorney
27                                          for the Government

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        Case 2:09-cr-00196-KJM Document 77 Filed 01/18/13 Page 2 of 2
 1
     Dated: January 15, 2013                /s/ PETER KMETO
 2
                                           Attorney for Defendant
 3                                         MICHAEL LEON W ILLIAMS
 4

 5
                                           ORDER
 6
                 UPON GOOD CAUSE SHOW N and the stipulation of the two parties,
 7
     it is ordered that the Trial Confirmation Hearing as to Defendant, W ILLIAMS, be
 8
     continued as set forth above.
 9

10   Dated: January 17, 2013
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13                                      GARLAND E. BURRELL, JR.
                                        Senior United States District
14                                      Judge

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